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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                              4:23CR3016

      vs.
                                                            ORDER
ARCHOLLIS LARMOR JOHNSON,

                  Defendant.


      Defendant has moved to continue the pretrial motion deadline, (Filing No.
18), because Defendant is awaiting additional discovery from the government.
The motion to continue is unopposed. Based on the showing set forth in the
motion, the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:


      1)    Defendant’s motion to continue, (Filing No. 18), is granted.

      2)    Pretrial motions and briefs shall be filed on or before May 2, 2023.

      3)    The conference call previously scheduled to be held on April 6,
            2023, is continued. A telephonic conference with counsel will be held
            before the undersigned magistrate judge at 10:15 a.m. on May 9,
            2023 to discuss setting any pretrial motion hearing needed, a
            change of plea hearing, or the date of the jury trial and deadlines for
            disclosing experts as required under Rule 16. Counsel for all parties
            shall use the conferencing instructions provided by the court to
            participate in the call.

      4)    The ends of justice served by granting the motion to continue
            outweigh the interests of the public and the defendant in a speedy
            trial, and the additional time arising as a result of the granting of the
            motion, the time between today’s date and May 9, 2023 shall be
            deemed excludable time in any computation of time under the
            requirements of the Speedy Trial Act, because although counsel
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         have been duly diligent, additional time is needed to adequately
         prepare this case for trial and failing to grant additional time might
         result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7).
         Failing to timely object to this order as provided under this court’s
         local rules will be deemed a waiver of any right to later claim the time
         should not have been excluded under the Speedy Trial Act.

   Dated this 31st day of March, 2023.

                                         BY THE COURT:

                                         s/ Cheryl R. Zwart
                                         United States Magistrate Judge
